     Case 2:20-cv-00226-SAB           ECF No. 42    filed 12/10/20      PageID.479 Page 1 of 22




1    Ronald A. Van Wert, WSBA #32050
2    Andrew M. Wagley, WSBA #50007
     ETTER, McMAHON, LAMBERSON,
3
     VAN WERT & ORESKOVICH, P.C.
4
     618 West Riverside Avenue, Suite 210
5    Spokane, WA 99201
6    (509) 747-9100
7    (509) 623-1439 Fax
8    Email: rvw@ettermcmahon.com
     Email: awagley@ettermcmahon.com
9
     Attorneys for Defendants
10
11                       UNITED STATES DISTRICT COURT
12                      EASTERN DISTRICT OF WASHINGTON
13
14
     BRUCE GOODELL, a single person,
                                                         No. 2:20-cv-00226-SAB
15
                           Plaintiff,
16       v.                                             RESPONSE TO PLAINTIFF’S
17                                                      MOTION FOR PARTIAL
18   COLUMBIA COUNTY PUBLIC                             SUMMARY JUDGMENT AND
19   TRANSPORTATION; COLUMBIA                           DEFENDANTS’ CROSS-
     COUNTY TRANSPORTATION                              MOTION FOR SUMMARY
20
     AUTHORITY; and DAVID                               JUDGMENT
21   OCAMPO,
22                                                      Hearing Date:
23                         Defendants.                  January 29, 2021 at 10:00 am
24                                                      With Oral Argument
25
26
27       Defendants Columbia County Public Transportation, Columbia County
28
29   Transportation Authority, and David Ocampo (collectively “Defendants”),
30
     hereby submit this Response to Plaintiff Bruce Goodell’s Motion for Partial
31
32


       Response to Plaintiff’s Motion for Partial       ETTER, MCMAHON, LAMBERSON,
       Summary Judgment and Defendants’ Cross-          VAN WERT & ORESKOVICH, P.C.
       Motion for Summary Judgment- Page 1                    618 WEST RIVERSIDE AVENUE, SUITE 210
                                                           SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:20-cv-00226-SAB           ECF No. 42       filed 12/10/20          PageID.480 Page 2 of 22




1    Summary       Judgment         regarding       Plaintiff’s       Washington              Law            Against
2
     Discrimination, Chapter 46.90 RCW (“WLAD”) retaliation claim. As there are
3
4
     no genuine issues of material fact regarding liability, Defendants also move
5
6    this Court for an Order of Summary Judgment dismissing Plaintiff’s WLAD
7
8    retaliation claim. This Motion is made pursuant to Fed. R. Civ. P. 56, LCivR
9
     56, and based upon the following Memorandum of Law.
10
11       As further articulated below, Plaintiff’s Motion must be denied and
12
13   Defendants’ Cross-Motion granted as:
14
         (1)      Plaintiff’s WLAD retaliation claim is not subject to strict liability
15
16                as an internal employment investigation invokes the “opposition
17
18                clause” of the retaliation provision and must be supported by the
19
                  employee’s “reasonable belief” discrimination occurred. See e.g.,
20
21                Vasconcelos v. Meese, 907 F.2d 111, 113 (9th Cir. 1990). As such,
22
23                if an employee fabricates an internal complaint of discrimination,
24
25
                  the employee’s termination is not “because he or she has opposed
26
                  any practices forbidden by this chapter.” RCW 49.60.210(1).
27
28       (2)      Plaintiff cannot establish a prima facie case of retaliation as his
29
30                internal complaint of discrimination was fabricated, and therefore
31
                  not supported by a “reasonable belief” that discrimination occurred
32


       Response to Plaintiff’s Motion for Partial           ETTER, MCMAHON, LAMBERSON,
       Summary Judgment and Defendants’ Cross-              VAN WERT & ORESKOVICH, P.C.
       Motion for Summary Judgment- Page 2                           618 WEST RIVERSIDE AVENUE, SUITE 210
                                                                  SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:20-cv-00226-SAB           ECF No. 42    filed 12/10/20      PageID.481 Page 3 of 22




1                 nor “because” he opposed discrimination. See id.
2
         (3)      The discharge of an employee for fabricating an internal complaint
3
4
                  of discrimination, lying during the investigation, and violating
5
6                 employer policy constitutes a legitimate, nondiscriminatory motive.
7
8                 Mackey v. Home Depot USA, Inc., 12 Wn. App. 2d 557, 580, 459
9
                  P.3d 371. review denied 195 Wn.2d 1031, 468 P.3d 616 (2020).
10
11                           UNDISPUTED MATERIAL FACTS
12
13       Defendants incorporate their Statements of Fact in Support of Cross-
14
     Motion for Summary Judgment (“D-SOF”) as if fully restated herein. Plaintiff
15
16   Bruce Goodell was terminated from his employment with Defendant Columbia
17
18   County Public Transportation (“CCPT”) on December 11, 2019. (D-SOF 4.)
19
     Mr. Goodell was terminated as the result of fabricating a complaint of
20
21   discrimination, lying during the internal investigation, and violating
22
23   Defendants’ employment policies. (See D-SOFs 3-11.)
24
25
         On November 10, 2019, Mr. Goodell emailed Defendant Ocampo an
26
     internal complaint alleging that “on 10/30/19 and continuing,” Mr. Goodell
27
28   was “subjected to significant abuse by [co-worker] Mark Haney.” (D-SOF 5.)
29
30   Following this email, Defendant David Ocampo (“Ocampo”) conducted a
31
     detailed investigation and interviewed Mr. Goodell at-least twice, along with
32


       Response to Plaintiff’s Motion for Partial       ETTER, MCMAHON, LAMBERSON,
       Summary Judgment and Defendants’ Cross-          VAN WERT & ORESKOVICH, P.C.
       Motion for Summary Judgment- Page 3                    618 WEST RIVERSIDE AVENUE, SUITE 210
                                                           SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:20-cv-00226-SAB           ECF No. 42    filed 12/10/20      PageID.482 Page 4 of 22




1    interviewing the alleged harasser (Mr. Haney) and two other alleged witnesses
2
     (Ms. Suchodolski and Ms. Schmidt). (D-SOF 7.)
3
4
          None of the witnesses interviewed corroborated Mr. Goodell’s story. (D-
5
6    SOFs 8 and 9.) Two witnesses, Ms. Suchodolski and Ms. Schmidt, whose
7
8    credibility has not been challenged, directly contradicted Mr. Goodell’s
9
     assertion of acts he claimed they witnessed. (Id.) Ms. Suchodolski denied
10
11   witnessing or overhearing any derogatory statements by Mr. Haney towards
12
13   Mr. Goodell. (Id.) Ms. Schmidt denied observing Mr. Goodell get visibly
14
     upset, speak in a trembling voice, or get tearful. (Id.) When confronted with
15
16   this contradicting testimony, Mr. Goodell changed his story or refused to
17
18   respond. (Id.) Accordingly, Defendants found that Mr. Goodell falsified his
19
     testimony and that his complaint was not made in good faith. (Id.) As such,
20
21   CCPT terminated Mr. Goodell for violating company policy. (D-SOF 11.)
22
23                                 STANDARD OF REVIEW
24
25
          The purpose of summary judgment is to avoid unnecessary trials.
26
     Northwest Motorcycle Ass'n v. U.S. Dept. of Agriculture, 18 F.3d 1468, 1471
27
28   (9th Cir. 1994).         Summary judgment is warranted if the moving party
29
30   demonstrates “that there is no genuine dispute as to any material fact and that
31
     the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).
32


       Response to Plaintiff’s Motion for Partial       ETTER, MCMAHON, LAMBERSON,
       Summary Judgment and Defendants’ Cross-          VAN WERT & ORESKOVICH, P.C.
       Motion for Summary Judgment- Page 4                    618 WEST RIVERSIDE AVENUE, SUITE 210
                                                           SPOKANE, WASHINGTON 99201 (509) 747-9100
       Case 2:20-cv-00226-SAB            ECF No. 42    filed 12/10/20      PageID.483 Page 5 of 22




1      The Court must construe the facts, as well as all rational inferences, in the light
2
       most favorable to the non-moving party. Scott v. Harris, 550 U.S. 372, 378
3
4
       (2007). However, the Court “defers to neither party in resolving purely legal
5
6      questions.” Trizuto v. Bellevue Police Dep't, 983 F. Supp. 2d 1277, 1288
7
8      (W.D. Wash. 2013).
9
                                      MEMORANDUM OF LAW
10
11          The WLAD retaliation provision, RCW 49.60.210(1), provides:
12
13            It is an unfair practice for any employer . . . to discharge, expel, or
14
              otherwise discriminate against any person because he or she has
              opposed any practices forbidden by this chapter, or because he or
15
              she has filed a charge, testified, or assisted in any proceeding
16            under this chapter.
17
18     (emphasis added). This provision contains an “opposition clause” (underlined)
19
       and a “participation clause” (italicized). Lodis v. Corbis Holdings, Inc., 172
20
21     Wn. App. 835, 848, 292 P.3d 779 (2013).
22
23          Courts apply the McDonnell Douglas1 burden-shifting approach for
24
25
       purposes of a WLAD retaliation claim. Erickson v. Biogen, Inc., 417 F. Supp.
26
       3d 1369, 1378 (W.D. Wash. 2019). Under the McDonnell Douglas burden-
27
28     shifting approach:
29
30
31 1
       McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973).
32


          Response to Plaintiff’s Motion for Partial       ETTER, MCMAHON, LAMBERSON,
          Summary Judgment and Defendants’ Cross-          VAN WERT & ORESKOVICH, P.C.
          Motion for Summary Judgment- Page 5                    618 WEST RIVERSIDE AVENUE, SUITE 210
                                                              SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:20-cv-00226-SAB           ECF No. 42    filed 12/10/20      PageID.484 Page 6 of 22




1         Plaintiff must first establish a prima facie case of discrimination or
2         retaliation. . . . If she [or he] succeeds, then the burden shifts to the
          Defendant to offer a legitimate explanation for Plaintiff’s
3
          termination. . . . If Defendant does, the burden shifts back to the
4
          Plaintiff to show that Defendant’s explanation is pretext for
5         discrimination or retaliation.
6
7    Erickson, 417 F. Supp. 3d at 1378 (internal citations omitted).
8
          In order to establish a prima facie case of a WLAD retaliation claim, “an
9
10   employee must show that (1) he or she engaged in a statutorily protected
11
12   activity, (2) the employer took an adverse employment action against the
13
14
     employee, and (3) there is a causal connection between the employee’s activity
15
     and the employer’s adverse action.” Mackey v. Home Depot USA, Inc., 12 Wn.
16
17   App. 2d 557, 574, 459 P.3d 371 (2020).
18
19      A.     The WLAD Does Not Protect Fabricated Internal Complaints of
               Discrimination as a Matter of Law.
20
21        Mr. Goodell argues “[t]he only dispute related to this claim is the purely
22
23   legal questions of whether the WLAD permits an employer to fire an employee
24
25
     for making allegedly false statements while engaged in protected activity.”
26
     (ECF No. 38 at 2.) In essence, Mr. Goodell advocates for a strict liability
27
28   standard for a WLAD retaliation claim. (See id. at 9 (“all retaliation against
29
30   those who oppose discrimination or participate in a proceeding regarding
31
     discrimination is prohibited, irrespective of whether the information provided
32


       Response to Plaintiff’s Motion for Partial       ETTER, MCMAHON, LAMBERSON,
       Summary Judgment and Defendants’ Cross-          VAN WERT & ORESKOVICH, P.C.
       Motion for Summary Judgment- Page 6                    618 WEST RIVERSIDE AVENUE, SUITE 210
                                                           SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:20-cv-00226-SAB           ECF No. 42    filed 12/10/20      PageID.485 Page 7 of 22




1    was truthful”).       Plaintiff’s position is contrary to various aspects of the law,
2
     including plain language of the WLAD and the McDonnell Douglas burden-
3
4
     shifting approach, along with public policy.
5
6                    i. The “Because” Language Contained in the WLAD
7                       Retaliation Provision Imposes a Causation Requirement.
8
          The plain language of the statute indicates that the retaliation provision
9
10   does not impose strict liability as the “because” language requires causation.
11
12   RCW 49.60.210(1). Under the plain language of the retaliation provision, it is
13
14
     unlawful to discharge an employee “because he or she has opposed any
15
     practices forbidden by this chapter” or “because he or she has filed a charge,
16
17   testified, or assisted in any proceeding under this chapter.” Id.
18
19        Although the provisions of the WLAD must be liberally construed, the
20
     Court must not read language into a statute that the legislature did not intend to
21
22   include. Davis v. Fred's Appliance, Inc., 171 Wn. App. 348, 360, 287 P.3d 51
23
24   (2012).    The express “because” language of RCW 49.60.210(1) invokes a
25
     causation requirement and negates a strict liability interpretation. See Gross v.
26
27   FBL Fin. Servs., Inc., 557 U.S. 167, 176-77 (2009); accord Murray v. Mayo
28
29   Clinic, 934 F.3d 1101, 1107 (9th Cir. 2019). The termination of an employee
30
31
32


       Response to Plaintiff’s Motion for Partial       ETTER, MCMAHON, LAMBERSON,
       Summary Judgment and Defendants’ Cross-          VAN WERT & ORESKOVICH, P.C.
       Motion for Summary Judgment- Page 7                    618 WEST RIVERSIDE AVENUE, SUITE 210
                                                           SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:20-cv-00226-SAB            ECF No. 42    filed 12/10/20      PageID.486 Page 8 of 22




1    for lying is not “because” of a protected activity; it is because the employee
2
     lied. RCW 49.60.210(1).
3
4
          Plaintiff convolutes this issue by citing language in RCW 49.60.210(3) and
5
6    arguing that “a legislature is presumed to act intentionally and purposely when
7
8    it includes language in one section but omits it in another.” (ECF No. 38 at 6.)
9
     Specifically, RCW 49.60.210(3) provides:
10
11          It is an unfair practice for any employer . . . to discharge, expel,
12          discriminate, or otherwise retaliate against an individual assisting
13          with an office of fraud and accountability investigation under RCW
14
            74.04.012, unless the individual has willfully disregarded the truth
            in providing information to the office.
15
16   (Underlining added). However, subsection (3) was added in 2011 as part of a
17
18   revision to Chapter 74.04 RCW, whereas, the WLAD retaliation provision
19
     itself was promulgated in 1949. See 2011 Wash. Legis. Serv. 1st Sp. Sess. Ch.
20
21   42 (S.S.B. 5921). Further, Plaintiff fails to recognize that RCW 49.60.210(1),
22
23   the operative subsection of the WLAD retaliation provision, does not include
24
25
     the phrase “retaliate,” although subsection (3) expressly does.                            Certainly,
26
     Plaintiff is not prepared to argue that retaliation is not covered by subsection
27
28   (1) since it is not expressly referenced therein as it is in subsection (3). See
29
30   State v. Alvarado, 164 Wn.2d 556, 562, 192 P.3d 345 (2008) (“Common sense
31
     informs our analysis, as we avoid absurd results in statutory interpretation.”).
32


        Response to Plaintiff’s Motion for Partial       ETTER, MCMAHON, LAMBERSON,
        Summary Judgment and Defendants’ Cross-          VAN WERT & ORESKOVICH, P.C.
        Motion for Summary Judgment- Page 8                    618 WEST RIVERSIDE AVENUE, SUITE 210
                                                            SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:20-cv-00226-SAB           ECF No. 42    filed 12/10/20      PageID.487 Page 9 of 22




1         Mr. Goodell’s statutory interpretation arguments contain logical fallacies
2
     and are contrary to the “because” plain language of RCW 49.60.210(1). As
3
4
     such, WLAD retaliation does not impose the strict liability standard advocated
5
6    by Mr. Goodell. See RCW 49.60.210(1).
7
8                   ii. The McDonnell Douglas Burden-Shifting                                   Approach
                        Requires Causation to Establish Retaliation.
9
10        The McDonnell Douglas burden-shifting framework requires a plaintiff to
11
12   establish “a causal connection between the employee’s activity and the
13
14
     employer’s adverse action.” Mackey, 12 Wn. App. 2d at 574. Similar to the
15
     argument contained supra, if the WLAD retaliation provision applied strict
16
17   liability, there would not be a well-developed body of case law that the
18
19   McDonnell Douglas burden-shifting approach applies to WLAD retaliation
20
     claims. Mackey, 12 Wn. App. 2d at 574; Erickson, 417 F. Supp. 3d at 1378.
21
22                 iii. An Employer May Discharge an Employee For an Internal
23                      Employment Complaint Not Made with a Reasonable Belief
24                      That Discrimination Occurred.
25
          Mr. Goodell’s internal complaint of discrimination is governed by the
26
27   “opposition clause” to the retaliation provision, as opposed to the “participation
28
29   clause.”      See Reiber v. City of Pullman, 2013 WL 3984442, at *9
30
31
32


       Response to Plaintiff’s Motion for Partial       ETTER, MCMAHON, LAMBERSON,
       Summary Judgment and Defendants’ Cross-          VAN WERT & ORESKOVICH, P.C.
       Motion for Summary Judgment- Page 9                    618 WEST RIVERSIDE AVENUE, SUITE 210
                                                           SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:20-cv-00226-SAB            ECF No. 42     filed 12/10/20      PageID.488 Page 10 of 22




1    (unpublished)2 (E.D. Wash. 2013). In addition to causation requirements, Mr.
2
     Goodell must have had a “reasonable belief” in the veracity of the claim to
3
4
     invoke the protections of the retaliation “opposition clause” protections. See
5
6    Lodi, 192 Wn. App. at 50.
7
8          As the WLAD mirrors federal law, this Court may look to Title VII of the
9
     Civil Rights Act of 1964 as a source of guidance when analyzing WLAD
10
11   retaliation claims. Stegall v. Citadel Broad. Co., 350 F.3d 1061, 1065 (9th Cir.
12
13   2003). Plaintiff argues that “[t]he majority of circuit courts, including the
14
     Ninth Circuit, hold that Title VII shields an employee from adverse action on
15
16   the basis of any opposition to discrimination or testimony provided in an EEO
17
18   proceeding, regardless of its truth.”             (ECF No. 38 at 7.)                  However, the
19
     referenced federal authority relates to investigations by a regulatory entity,
20
21   which invokes the “participation clause,” not the “opposition clause.” See e.g.,
22
23   Egei v. Johnson, 192 F. Supp. 3d 81, 86-87 (D.D.C. 2016) (“[plaintiff’s]
24
25
     retaliation claim is brought under the ‘participation’ clause, because the
26
     statements that FEMA alleges were false or malicious were made in her formal
27
28   EEO charge and her testimony before the EEO.”)
29
30
     2
31     Pursuant to LCivR 7(g)(2), this authority and other unpublished opinions
32   herein are offered for persuasive purposes only.

         Response to Plaintiff’s Motion for Partial        ETTER, MCMAHON, LAMBERSON,
         Summary Judgment and Defendants’ Cross-           VAN WERT & ORESKOVICH, P.C.
         Motion for Summary Judgment- Page 10                    618 WEST RIVERSIDE AVENUE, SUITE 210
                                                              SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:20-cv-00226-SAB           ECF No. 42     filed 12/10/20      PageID.489 Page 11 of 22




1         Under WLAD, the “opposition clause” prevents an employer from
2
     discharging an employee “because he or she has opposed any practices
3
4
     forbidden by this chapter.”             RCW 49.60.210(1).          On the other hand, the
5
6    “participation clause” prevents an employee from discharging an employee
7
8    “because he or she has filed a charge, testified, or assisted in any proceeding
9
     under this chapter.” Id. (underlining added). Although Plaintiff claims that his
10
11   retaliation claim invokes both clauses, the WLAD “participation clause” is
12
13   “limited to official investigations” and does not extend to “an employer’s
14
     internal investigation.” Reiber, 2013 WL 3984442, at *9. In coming to this
15
16   conclusion, the Reiber Court reasoned that under the comparable language of
17
18   Title VII: “A purely internal investigation does not involve a ‘charge,’ or
19
     testimony, and neither is it a ‘proceeding’ or a ‘hearing.’” Reiber, 2013 WL
20
21   3984442, at *9 (quoting Hatmaker v. Mem'l Med. Ctr., 619 F.3d 741, 746-47
22
23   (7th Cir. 2010)). Furthermore, RCW 49.60.210(1) likewise explicitly refers to
24
25
     a “charge” and “proceeding under this chapter,” which excludes an internal
26
     investigation. As such, Mr. Goodell’s internal complaint and the following
27
28   internal investigation falls under the “opposition clause.” See id.
29
30        Under the WLAD “opposition clause,” an employee is entitled to
31
     protection only if he “‘reasonably believed’” that he was opposing unlawful
32


        Response to Plaintiff’s Motion for Partial        ETTER, MCMAHON, LAMBERSON,
        Summary Judgment and Defendants’ Cross-           VAN WERT & ORESKOVICH, P.C.
        Motion for Summary Judgment- Page 11                    618 WEST RIVERSIDE AVENUE, SUITE 210
                                                             SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:20-cv-00226-SAB           ECF No. 42     filed 12/10/20      PageID.490 Page 12 of 22




1    discrimination. Lodis, 192 Wn. App. at 50. As it pertains to an internal
2
     employer discrimination or harassment investigation, the Ninth Circuit and
3
4
     multiple other Circuits have expressly held that the “opposition clause” as
5
6    opposed to the “participation clause” applies. Vasconcelos v. Meese, 907 F.2d
7
8    111, 113 (9th Cir. 1990) (employee “was fired for lying during the [internal
9
     employer] investigation, not for lying in any EEOC investigation”); E.E.O.C. v.
10
11   Total Sys. Servs., Inc., 221 F.3d 1171, 1175 (11th Cir. 2000) (“Even if false
12
13   statements made in the context of an EEOC charge (per the participation clause)
14
     are protected and cannot be grounds for dismissal or discipline, . . . this
15
16   extreme level of protection for untruth is not afforded to false statements made
17
18   under the opposition clause.”); Townsend v. Benjamin Enterprises, Inc., 679
19
     F.3d 41, 49 (2d Cir. 2012) (“Every Court of Appeals to have considered this
20
21   issue squarely has held that participation in an internal employer investigation
22
23   not connected with a formal EEOC proceeding does not qualify as protected
24
25
     activity under the participation clause.”); Hatmaker, 619 F.3d at 747.
26
          The “opposition clause” (as opposed to the “participation clause”) applies
27
28   to an internal employer investigation so the employer may rely on the
29
30   truthfulness of employee statements to make personnel, legal, or other
31
     important business decisions. See Total Sys. Servs., 221 F.3d at 1176. On the
32


        Response to Plaintiff’s Motion for Partial        ETTER, MCMAHON, LAMBERSON,
        Summary Judgment and Defendants’ Cross-           VAN WERT & ORESKOVICH, P.C.
        Motion for Summary Judgment- Page 12                    618 WEST RIVERSIDE AVENUE, SUITE 210
                                                             SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:20-cv-00226-SAB           ECF No. 42     filed 12/10/20      PageID.491 Page 13 of 22




1    other hand, official investigations conducted by a third-party governmental
2
     agency invoke further protections, as the employee has gone to the
3
4
     governmental agency regarding allegations of discrimination. See id. Such
5
6    actions subject an employer to an official proceeding, a potential agency
7
8    investigation, and the possibility of legal liability. Moreover, official
9
     governmental agency proceedings have mechanisms to prevent fabricated
10
11   claims (such as perjury), where an internal employment complaint does not. As
12
13   such, “[a]ccusations made in the context of charges before [the official
14
     government agency] are protected by statute, charges made outside of that
15
16   context are made at the accuser’s peril.” Vasconcelos, 907 F.2d at 113.
17
18        The cases cited by Plaintiff in support of his argument clearly deal with a
19
     “participation clause” retaliation situation as the employees therein had initiated
20
21   an official administrative proceeding. See Sias v. City Demonstration Agency,
22
23   588 F.2d 692, 695 (9th Cir. 1978) (“It is well settled that the participation
24
25
     clause shields an employee from retaliation regardless of the merit of his EEOC
26
     charge.”); see also Egei, 192 F. Supp. 3d at 86-87; accord Pettway v. Am. Cast
27
28   Iron Pipe Co., 411 F.2d 998, 999–1000 (5th Cir. 1969) (framing the issue as
29
30   “whether a charge filed pursuant to § 704(a) of the Act (42 U.S.C.A. § 2000e-
31
     3(a)) prohibits an employer from discharging an employee for having made
32


        Response to Plaintiff’s Motion for Partial        ETTER, MCMAHON, LAMBERSON,
        Summary Judgment and Defendants’ Cross-           VAN WERT & ORESKOVICH, P.C.
        Motion for Summary Judgment- Page 13                    618 WEST RIVERSIDE AVENUE, SUITE 210
                                                             SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:20-cv-00226-SAB           ECF No. 42     filed 12/10/20      PageID.492 Page 14 of 22




1    false statements in a request for reconsideration of his case before the Equal
2
     Employment Opportunity Commission”).
3
4
          Based upon the foregoing, the “opposition clause” is applicable to Mr.
5
6    Goodell’s internal complaint regarding discrimination. See Vasconcelos, 907
7
8    F.2d at 113. Therefore, as Mr. Goodell did not have a “reasonable belief” in
9
     the internal complaint as it was fabricated, he is not protected as a matter of
10
11   law. See Lodis, 192 Wn. App. at 50. At the very least, the WLAD retaliation
12
13   provision does not invoke strict liability. See id.
14
                    iv. Public Policy Allows an Employer to Terminate an
15
                        Employee Who Was Dishonest During an Internal
16                      Investigation.
17
18        Public policy supports the conclusion that a fabricated internal claim of
19
     discrimination should not insulate an employee from discharge. An employer is
20
21   entitled to rely upon statements of an employee during an internal investigation
22
23   to make important business decisions. See Total Sys. Servs., 221 F.3d at 1176.
24
25
     The standard under the “opposition clause” does not prevent an employee from
26
     making an internal complaint, but only requires a “reasonable basis.” See id.
27
28   In the event a fabricated complaint was protected, an inept employee could
29
30   insolate himself from termination by simply making baseless accusations. See
31
     Mattson v. Caterpillar, Inc., 359 F.3d 885, 891 (7th Cir. 2004).
32


        Response to Plaintiff’s Motion for Partial        ETTER, MCMAHON, LAMBERSON,
        Summary Judgment and Defendants’ Cross-           VAN WERT & ORESKOVICH, P.C.
        Motion for Summary Judgment- Page 14                    618 WEST RIVERSIDE AVENUE, SUITE 210
                                                             SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:20-cv-00226-SAB           ECF No. 42     filed 12/10/20      PageID.493 Page 15 of 22




1        B.     Plaintiff Cannot Establish a Prima Facie Retaliation Case as a
2               Matter of Law.
3
          Based upon the foregoing, Mr. Goodell is only protected under the
4
5    “opposition clause” if he “reasonably believed” that he was opposing unlawful
6
7    discrimination. Lodis, 192 Wn. App. at 50. In order to establish a prima facie
8
     case of retaliation, Mr. Goodell must establish that: (1) “he . . . engaged in a
9
10   statutorily protected activity, (2) the employer took an adverse employment
11
12   action against [him], and (3) there is a causal connection.” Mackey, 12 Wn.
13
14
     App. 2d at 574. The casual connection requires that “statutorily protected
15
     activity was a ‘substantial factor’ in Defendant’s adverse employment
16
17   decision.” Erickson, 417 F. Supp. 3d at 1383.
18
19        In the situation at hand, Mr. Goodell did not engage in a protected activity
20
     under the “opposition clause.” See Villa v. CavaMezze Grill, LLC, 858 F.3d
21
22   896, 901 (4th Cir. 2017) (“The opposition clause does not protect the making
23
24   of a knowingly false allegation.”). Mr. Goodell did not have a reasonable
25
     belief that he was opposing an unlawful practice as Defendants, after
26
27   conducting an investigation, “determined that the allegations against Mr.
28
29   Haney in [Mr. Goodell’s] complaint . . . are false.” (D-SOF 8.) Additionally,
30
     even if the Court finds protected activity, Mr. Goodell cannot establish that the
31
32


        Response to Plaintiff’s Motion for Partial        ETTER, MCMAHON, LAMBERSON,
        Summary Judgment and Defendants’ Cross-           VAN WERT & ORESKOVICH, P.C.
        Motion for Summary Judgment- Page 15                    618 WEST RIVERSIDE AVENUE, SUITE 210
                                                             SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:20-cv-00226-SAB           ECF No. 42     filed 12/10/20      PageID.494 Page 16 of 22




1    protected activity was a “substantial factor” in his discharge, as the reason for
2
     his discharge was false accusations and violation of the CCPT Personnel
3
4
     Handbook. (See D-SOFs 8-10.)
5
6         No genuine issue of material fact exists establishing a prima facie case of
7
8    retaliation. (See D-SOFs 8-10.) Thus, Defendants are entitled to dismissal as a
9
     matter of law. Lodis, 192 Wn. App. at 50; Total Sys. Servs., 221 F.3d at 1174.
10
11       C.     Termination for Fabricating an Internal Complaint and Violating
12              Policy Constitutes a Legitimate, Non-Discriminatory Motive.
13
14
          Assuming arguendo there is a prima facie retaliation claim, there is no
15
     genuine issue of material fact challenging that Mr. Goodell was discharged for
16
17   a legitimate, non-discriminatory reason. (D-SOFs 6-11.) “Once an employee
18
19   has established a prima facie case of retaliation, the burden shifts to the
20
     employer to advance a legitimate, non-discriminatory reason for discharging
21
22   the employee.” Purcell, 44 F. Supp. 3d at 1060. For summary judgment, “the
23
24   employer only has a burden of production, not persuasion, and does not need to
25
     persuade the court that it was actually motivated by the nondiscriminatory
26
27   reasons.” Mackey, 12 Wn. App. 2d at 580-81 (underlining added).
28
29        Violation of an employer policy constitutes legitimate, nondiscriminatory
30
     grounds for termination.             Mackey, 12 Wn. App. at 580 (“Home Depot
31
32


        Response to Plaintiff’s Motion for Partial        ETTER, MCMAHON, LAMBERSON,
        Summary Judgment and Defendants’ Cross-           VAN WERT & ORESKOVICH, P.C.
        Motion for Summary Judgment- Page 16                    618 WEST RIVERSIDE AVENUE, SUITE 210
                                                             SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:20-cv-00226-SAB           ECF No. 42     filed 12/10/20      PageID.495 Page 17 of 22




1    presented evidence that it had a legitimate, nondiscriminatory reason for
2
     terminating Mackey: her violation of company discount polices.”).
3
4
     Additionally, termination based upon the employer’s belief that the employee
5
6    lied during an internal investigation constitutes a legitimate, nondiscriminatory
7
8    reason.     See Total Sys. Servs., 221 F.3d at 1176 (“Defendant offered a
9
     legitimate nondiscriminatory reason for Warrant’s termination: Defendant
10
11   concluded that she had lied in an internal investigation.”); accord Richey v.
12
13   City of Indep., 540 F.3d 779, 784 (8th Cir. 2008) (“An employee who engaged
14
     in protected activity is not insulated from adverse action for violating
15
16   workplace rules, and an employer’s belief that the employee committed
17
18   misconduct is a legitimate, non-discriminatory reason for adverse action.”).
19
          In the event the employer meets its burden of production, the burden
20
21   shifts to the employee to “produce sufficient evidence” to create a genuine
22
23   issue of material fact that the “adverse employment action was pretextual.”
24
25
     Mackey, 12 Wn. App. 2d at 581. However, if the termination “was based on
26
     actual evidence derived from the investigation,” an employee cannot establish
27
28   pretext by challenging the results of the investigation. See id. at 582. In the
29
30   same vein, “[a]n employee’s assertion of good performance to contradict the
31
32


        Response to Plaintiff’s Motion for Partial        ETTER, MCMAHON, LAMBERSON,
        Summary Judgment and Defendants’ Cross-           VAN WERT & ORESKOVICH, P.C.
        Motion for Summary Judgment- Page 17                    618 WEST RIVERSIDE AVENUE, SUITE 210
                                                             SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:20-cv-00226-SAB           ECF No. 42     filed 12/10/20      PageID.496 Page 18 of 22




1    employer’s assertion of poor performance does not give rise to a reasonable
2
     inference of discrimination.” Id. (internal quotations omitted).
3
4
          Here, no genuine issue of material fact exists that Mr. Goodell was
5
6    terminated for fabricating a claim of discrimination, lying during an
7
8    investigation, and violating CCPT Personnel Policies. (See D-SOFs 6-11.) As
9
     expressly stated in the Termination Letter, “CCPT takes allegations of sexual
10
11   harassment and harassment seriously, and cannot tolerate false allegations such
12
13   as the ones [Mr. Goodell] made regarding Mr. Haney’s alleged comments on
14
     October 30, 2019.” (D-SOF 11.) Further, the Termination Letter expressly
15
16   references the CCPT Personnel Handbook as a reason for termination, noting
17
18   that it “prohibits retaliation against ‘any person who, in good faith,’ reports
19
     sexual harassment and/or harassment.” (D-SOF 9.) Moreover, Defendants
20
21   detailed all aspects of the investigation into Mr. Goodell’s internal complaint
22
23   and the reasons for the conclusion that Mr. Goodell fabricated the complaint.
24
25
     (D-SOFs 8-9.) Although a grievance procedure was available by CCPT, Mr.
26
     Goodell failed to avail himself of the procedure. (D-SOF 12.)
27
28        Defendants have met their burden of producing a legitimate,
29
30   nondiscriminatory reason for purposes of the McDonnell Douglas burden-
31
     shifting analysis. (See D-SOFs 6-11.) Further, based upon the undisputed
32


        Response to Plaintiff’s Motion for Partial        ETTER, MCMAHON, LAMBERSON,
        Summary Judgment and Defendants’ Cross-           VAN WERT & ORESKOVICH, P.C.
        Motion for Summary Judgment- Page 18                    618 WEST RIVERSIDE AVENUE, SUITE 210
                                                             SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:20-cv-00226-SAB           ECF No. 42     filed 12/10/20      PageID.497 Page 19 of 22




1    Termination Letter, Mr. Goodell is unable to establish pretext as a matter of
2
     law. See Mackey, 12 Wn. App. 2d at 581. As such, summary judgment in
3
4
     favor of Defendants is warranted as a matter of law. See id.
5
6        D.     Certification to the Washington Supreme Court is Not
7               Warranted.
8
          In the alternative, Mr. Goodell argues that certification to the Supreme
9
10   Court of Washington may be appropriate for the WLAD retaliation claim. (See
11
12   ECF No. 38 at 11.) Certification is warranted “[w]hen in the opinion of any
13
14
     federal court before whom a procedure is pending, it is necessary to ascertain
15
     the local law of this state in order to dispose of such proceeding and the local
16
17   law has not been clearly determined.” RCW 2.60.020 (underlining added);
18
19   accord RAP 16.16. First, certification is not necessary to decide this issue
20
     based upon the plain language of RCW 49.60.210(1) and as Washington law is
21
22   settled that a “opposition clause” WLAD retaliation case requires a “reasonable
23
24   belief” in the veracity of the discrimination. See supra. Second, even though
25
     Washington has not expressly applied the “opposition clause” in the context of
26
27   fabrication or dishonesty in an internal employer investigation, this Court may
28
29   look towards federal authority when deciding the issue. Id. As indicated
30
31
32


        Response to Plaintiff’s Motion for Partial        ETTER, MCMAHON, LAMBERSON,
        Summary Judgment and Defendants’ Cross-           VAN WERT & ORESKOVICH, P.C.
        Motion for Summary Judgment- Page 19                    618 WEST RIVERSIDE AVENUE, SUITE 210
                                                             SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:20-cv-00226-SAB           ECF No. 42     filed 12/10/20      PageID.498 Page 20 of 22




1    above, federal law is clear that an employee may be terminated for fabricating
2
     a claim of discrimination during an internal employment investigation. Id.
3
4
         E. Dismissal of Plaintiff’s Whistleblower Retaliation Claim is
5           Warranted as a Matter of Law.
6
7         Mr. Goodell likewise brings a whistleblower retaliation claim pursuant to
8
     RCW 49.60.210(2).              (See ECF No. 37 at 22-23.)                   Pursuant to RCW
9
10   49.60.210(2), “[i]t is an unfair practice for a government agency or government
11
12   manager or supervisor to retaliate against a whistleblower as defined in chapter
13
14
     42.40 RCW.” The pertinent definition in Chapter 42.40 RCW, Washington’s
15
     State Employee Whistleblower Protection Act, of a “whistleblower” is “[a]n
16
17   employee who in good faith reports alleged improper governmental action to
18
19   the auditor or other public official.” RCW 42.40.020(10)(a)(i). However,
20
     Chapter 42.40 RCW only applies to State employees and not municipal
21
22   employees.        See RCW 42.40.020(2) (“‘Employee’ means any individual
23
24   employed or holding office in any department or agency of state
25
     government.”); Wilson v. City of Monroe, 88 Wn. App. 113, 122, 943 P.2d
26
27   1134 (1997) (“Because Wilson was not a state employee, he is not entitled to
28
29   the remedies provided by [Chapter 42.40 RCW]”).
30
31
32


        Response to Plaintiff’s Motion for Partial        ETTER, MCMAHON, LAMBERSON,
        Summary Judgment and Defendants’ Cross-           VAN WERT & ORESKOVICH, P.C.
        Motion for Summary Judgment- Page 20                    618 WEST RIVERSIDE AVENUE, SUITE 210
                                                             SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:20-cv-00226-SAB           ECF No. 42     filed 12/10/20      PageID.499 Page 21 of 22




1         There is no genuine dispute of material fact that both CCPT and Columbia
2
     County Transportation Authority are municipal entities. (D-SOF 14.) As such,
3
4
     Mr. Goodell is not a State employee subject to the protections of Chapter 42.40
5
6    RCW and RCW 49.60.210(2). (See id.) Additionally, Mr. Goodell’s internal
7
8    complaint was fabricated, not made in good faith, and his termination was
9
     therefore for a legitimate, nondiscriminatory reason. See Mackey, 12 Wn. App.
10
11   2d at 581-82. As such, Plaintiff’s WLAD whistleblower retaliation claim must
12
13   be dismissed as a matter of law. See RCW 49.60.210(2).
14
                                             CONCLUSION
15
16        For the reasons indicated above, Defendants respectfully request that this
17
18   Court deny Plaintiff’s Motion for Partial Summary Judgment and grant
19
     Defendants’ Motion for Partial Summary Judgment.
20
21          RESPECTFULLY SUBMITTED this 10th day of December, 2020.
22
23                                  ETTER, McMAHON, LAMBERSON,
24                                   VAN WERT & ORESKOVICH, P.C.
25
26
                                 By: /s/ Andrew M. Wagley
27                                 Ronald A. Van Wert, WSBA #32050
28                                 Andrew M. Wagley, WSBA # 50007
29                                 Attorneys for Defendants
30
31
32


        Response to Plaintiff’s Motion for Partial        ETTER, MCMAHON, LAMBERSON,
        Summary Judgment and Defendants’ Cross-           VAN WERT & ORESKOVICH, P.C.
        Motion for Summary Judgment- Page 21                    618 WEST RIVERSIDE AVENUE, SUITE 210
                                                             SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:20-cv-00226-SAB           ECF No. 42     filed 12/10/20      PageID.500 Page 22 of 22




1                               CERTIFICATE OF SERVICE
2
          I hereby certify and declare under penalty of perjury of the laws of
3
4
     the United States and the State of Washington that on the 10th day of
5
6    December, 2020, I electronically filed the foregoing document with the
7
8    Clerk of the Court using the CM/ECF System, which will send electronic
9
     service to the following individual(s):
10
11                                  Andrew S. Biviano
12                                  Paukert & Troppmann, PLLC
13                                  522 West Riverside Avenue, Suite 560
14
                                    Spokane, WA 99201
                                    Email: abiviano@pt-law.com
15
16        Signed this 10th day of December, 2020 in Spokane, WA.
17
18                               By: /s/ Andrew M. Wagley
19                                  Andrew M. Wagley
20
21
22
23
24
25
26
27
28
29
30
31
32


        Response to Plaintiff’s Motion for Partial        ETTER, MCMAHON, LAMBERSON,
        Summary Judgment and Defendants’ Cross-           VAN WERT & ORESKOVICH, P.C.
        Motion for Summary Judgment- Page 22                    618 WEST RIVERSIDE AVENUE, SUITE 210
                                                             SPOKANE, WASHINGTON 99201 (509) 747-9100
